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                                                           United States Bankruptcy Court
                                                           Eastern District of North Carolina
                                                                   Raleigh Division


Debtor 1              Yvonne Michelle Terry                                             Social Security number or ITIN       xxx−xx−5531
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN     _ _−_ _ _ _ _ _ _
                                                                                        Date case filed for chapter 7 10/29/18
Case number:          18−05268−5−SWH


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.



                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Yvonne Michelle Terry

2.      All other names used in the
        last 8 years

3.     Address                                   3532 Greenville Loop Rd.
                                                 Wake Forest, NC 27587

4.     Debtor's attorney                         Carena Brantley Lemons                              Contact phone 919 688−7799
                                                 1921 North Pointe Drive, Suite 201
       Name and address                          Durham, NC 27705

5.     Bankruptcy trustee                        Holmes P Harden                                     Contact phone 919 981−4000
                                                 Williams Mullen
       Name and address                          A Professional Corporation
                                                 P. O. Drawer 1000
                                                 Raleigh, NC 27602
                                                                                                               For more information, see page 2 >
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Debtor Yvonne Michelle Terry                                                                                      Case number 18−05268−5−SWH


6. Bankruptcy clerk's office                       300 Fayetteville Street, 4th Floor                          Office Hours: 8:30 am − 4:30 pm
                                                   P.O. Box 791
    Documents in this case may be filed at         Raleigh, NC 27602                                           Contact phone: 919−856−4752
    this address. You may inspect all records
    filed in this case at this office or online
    at www.pacer.gov.                                                                                          Date: 10/29/18


7. Meeting of creditors                            December 6, 2018 at 09:30 AM                                Location:

    Debtors must attend the meeting to be          The meeting may be continued or adjourned to a              300 Fayetteville Street, Suite 130,
    questioned under oath. In a joint case,        later date. If so, the date will be on the court            Raleigh, NC 27601
    both spouses must attend. Creditors
    may attend, but are not required to do so.     docket.
                                                                                                               Please bring a government issued
                                                                                                               picture ID with you to the meeting
                                                                                                               of creditors. This ID is required for
                                                                                                               entry into the building.

8. Presumption of abuse                            The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                       File by the deadline to object to discharge or              Filing deadline: 2/4/19
                                                   to challenge whether certain debts are
    The bankruptcy clerk's office must             dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                                     You must file a complaint:
                                                   • if you assert that the debtor is not entitled to
                                                     receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or

                                                   • if you want to have a debt excepted from discharge
                                                     under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:
                                                   • if you assert that the discharge should be denied
                                                     under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                   The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                   exempt. If you believe that the law does not authorize an
                                                   exemption claimed, you may file an objection.


10. Proof of claim                                 No property appears to be available to pay creditors. Therefore, please do not file a
                                                   proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless     will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                 deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Electronic noticing                            Parties may opt to receive notices from the court via email rather than U.S. Mail.
                                                   Register at https://bankruptcynotices.uscourts.gov.

13. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                   not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                   www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                   debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                   objection by the deadline to object to exemptions in line 9.
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